Case 1:17-cr-00222-JMS-TAB Document 498 Filed 11/15/18 Page 1 of 6 PageID #: 1624



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                  )
                                             )
        Plaintiff,                           )
                                             )
               v.                            )
                                             )
  LANCE L. HATCHER, JR.,                     )   NO. 1:17-cr-0222-JMS-TAB-03
        a/k/a Mont Mont,                     )
  DEREK ATWATER,                             )                               -06
        a/k/a Shorty,                        )
  SHEMILAH D. CROWE,                         )                               -10
  JAMES O. BEASLEY,                          )                               -11
        a/k/a Jake,                          )
  RICHARD BERNARD GRUNDY, III,               )                               -12
        a/k/a White Boy,                     )
  GILBERTO VIZCARRA-MILLAN,                  )                               -13
        a/k/a G,                             )
  EZELL NEVILLE,                             )                               -15
        a/k/a Bo,                            )
  CHRISTOPHER D. BRADFORD,                   )                               -16
  UNDRAE MOSEBY,                             )                               -17
        a/k/a Soundrae Evans,                )
  MARK T. WILLIAMS,                          )                               -20
        a/k/a Savage, and                    )
  ISIAH T. FINCH,                            )                               -21
        a/k/a Fluff,                         )
                                             )
        Defendants                           )


                     JOINT PROPOSED CASE MANAGEMENT PLAN

        Comes now the United States of America, by counsel, Josh J. Minkler,

  United States Attorney, and Bradley A. Blackington, Senior Litigation Counsel,

  and the defendants, by and through their attorneys, and files this Joint

  Proposed Case Management Plan.
Case 1:17-cr-00222-JMS-TAB Document 498 Filed 11/15/18 Page 2 of 6 PageID #: 1625




          Item                         Description                   Deadline
   Filing of motions     Any motion listed in Fed. R. Crim. Pro.     2/4/2019
   that must be          12(b)(3), except for a motion for
   filed before trial,   discovery
   if at all
   Filing of motions     See Fed. R. Crim. Pro. 18, 21.              2/4/2019
   to change venue
   or division
   Filing of notice of   Any defenses specified in Fed. R.           2/4/2019
   certain defenses      Crim. Pro. 12.1, 12.2, or 12.3.
   Government’s          All information subject to disclosure       1/28/2019
   pre-trial             under Fed. R. Crim. Pro. 16(a)(1)(A)-
   disclosure (non-      (F).
   expert)
   Government’s          Expert information subject to               1/28/2019
   pre-trial             disclosure under Fed. R. Crim. Pro.
   disclosure            16(a)(1)(G)
   (expert)
   Defendant’s pre-      All information subject to disclosure       2/11/2019
   trial disclosure      under Fed. R. Crim. Pro. 16(b)(1)(A)-
   (non-expert)          (B).
   Defendant’s pre-      Expert information subject to               2/11/2019
   trial disclosure      disclosure under Fed. R. Crim. Pro.
   (expert)              16(b)(1)(C)
   Filing of notice of   If the Government intends to offer          2/11/2019
   Rule 404(b)           evidence of other crimes, wrongs, or
   Evidence              acts at trial, the Government must file
                         a notice setting forth the nature of
                         such evidence and the purpose(s) for
                         which it will be offered.
   Transcripts of        If the Government intends to                5/27/2019
   wiretaps              introduce into evidence transcripts of
                         wiretaps at trial as part of its case-in-
                         chief, it must provide the defense with
                         copies of those transcripts.
   Counter-              If the defense intends to introduce         6/10/2019
   designations of       additional wiretap transcripts as part
Case 1:17-cr-00222-JMS-TAB Document 498 Filed 11/15/18 Page 3 of 6 PageID #: 1626



   wiretaps            of the defense case-in-chief, the
                       defense must provide the Government
                       with copies of those transcripts.
   Motions for         If, despite having first met and            2/25/2019
   additional          conferred, the parties are unable to
   discovery or        resolve disputes about additional
   inspection          information that must be exchanged,
                       they may file a motion for the Court’s
                       ruling.
   Filing of           A list of witnesses whom the                7/1/2019
   Government’s        Government intends to call and the
   trial witness and   exhibits it intends to introduce as part
   exhibit list        of its case in chief
   Filing of the       A list of witnesses whom the defense        7/5/2019
   defense’s trial     intends to call and exhibits it intends
   witness and         to introduce as part of the defense
   exhibit lists       case in chief
   Filing of any       The date by which the Government            7/1/2019
   Santiago            must file any Santiago proffer.
   proffers.
   Objections to       The date by which any party who             7/5/2019
   Santiago            objects to the sufficiency of the
   proffers.           Santiago proffer must file a written
                       objection.
   Filing of motions   If any party desires a pre-trial            7/5/2019
   in limine           evidentiary ruling, the party may move
                       for it in limine.
   Filing of         The date by which the response brief,         7/8/2019
   responses to      if any, is due, to motions in limine
   motions in limine
   Filing of           The parties are encouraged to                  N/A
   stipulations        stipulate to the extent possible,
                       consistent with counsel’s professional
                       obligations. Stipulations must be
                       signed and filed.
   Final pretrial                                                 6/26/2019 at
   conference                                                       9:00 AM
   Trial                                                          7/8/2019 at
                                                                    9:00 AM
Case 1:17-cr-00222-JMS-TAB Document 498 Filed 11/15/18 Page 4 of 6 PageID #: 1627




                                           Respectfully submitted,


                                           JOSH J. MINKLER
                                           UNITED STATES ATTORNEY

                                           s/Bradley A. Blackington
                                     By:
                                           Bradley A. Blackington
                                           Senior Litigation Counsel


                                           s/Jessie A. Cook
                                           Jessie A. Cook
                                           Attorney for Lance L. Hatcher, Jr.

                                           s/Joshua S. Moudy
                                           Joshua S. Moudy
                                           Attorney for Derek Atwater


                                           H. Samuel Ansell
                                           H. Samuel Ansell
                                           Attorney for Shemilah D. Crowe


                                           Theodore J. Minch
                                           Theodore J. Minch
                                           Attorney for James O. Beasley


                                           Kenneth L. Riggins
                                           Kenneth L. Riggins
                                           Attorney for Richard Grundy, III


                                           John T. Tennyson
                                           John T. Tennyson
                                           Attorney for Gilberto Vizcarra-Millan
Case 1:17-cr-00222-JMS-TAB Document 498 Filed 11/15/18 Page 5 of 6 PageID #: 1628



                                           Thomas A. Brodnik
                                           Thomas A. Brodnik
                                           Attorney for Ezell Neville


                                           Maria G. Thompson
                                           Maria G. Thompson
                                           Attorney for Undrae Moseby


                                           James C. McKinley
                                           James C. McKinley
                                           Attorney for Mark T. Williams


                                           John A. Kesler, II
                                           John A. Kesler, II
                                           Attorney for Isiah T. Finch
Case 1:17-cr-00222-JMS-TAB Document 498 Filed 11/15/18 Page 6 of 6 PageID #: 1629



                               CERTIFICATE OF SERVICE

        I hereby certify that on November 15, 2018, a copy of the foregoing was

  filed electronically.   Notice of this filing will be sent to all parties by operation

  of the Court=s electronic filing system.    Parties may access this filing through

  the Court=s system.




                                           s/Bradley A. Blackington
                                           ___________________________
                                           Bradley A. Blackington
                                           United States Attorney=s Office
                                           10 W. Market St., Suite 2100
                                           Indianapolis, IN 46204
                                           Phone: (317) 226-6333
                                           Fax: (317) 226-6125
                                           E-mail: bradley.blackington@usdoj.gov
